                    Case 07-10416-BLS                        Doc 5124-1                  Filed 02/29/08   Page 1 of 2




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re
                                                                              Chapter 11
NEW CENTURY TRS HOLDINGS, INC., et                                            Case No. 07-10416-KJC
al.,
                                                                              Objections due by: March 18, 2008 at 4:00 p.m.
                                                                              Hearing Date: March 25, 2008 at 1:30 p.m.
                                    Debtor.


                        NOTICE OF MOTION OF
U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR THE STRUCTURED ASSET
                    INVESTMENT LOAN TRUST, 2006-4
   FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:

  New Century TRS Holdings, Inc.                                                 United States Trustee
  New Century TRS Holdings                                                       844 King Street, Room 2207
  18400 Von Karman Ave.                                                          Lockbox #35
  Irvine, CA 92612                                                               Wilmington, DE 19899
  Debtor

  Mark D. Collins, Esquire                                                       Bonnie Glantz Fatell, Esquire
  Christopher M. Samis, Esquire                                                  David W. Carickhoff, Jr., Esquire
  Richards, Layton & Finger                                                      Blank Rome LLP
  One Rodney Square                                                              1201 Market Street, Suite 800
  P.O. Box 551                                                                   Wilmington, DE 19801
  Wilmington, DE 19899                                                           Attorneys for the Official Committee
  Attorneys for the Debtor                                                        of Unsecured Creditors


  Suzanne S. Uhland, Esquire                                                     Mark T. Power, Esquire
  Ben H. Logan, Esquire                                                          Mark S. Indelicato, Esquire
  O’Melveny & Myers LLP                                                          488 Madison Ave.
  275 Battery Street                                                             14th & 15th Floor
  San Francisco, CA 94111                                                        New York, NY 10022
  Attorneys for the Debtor                                                       Attorneys for the Official Committee
                                                                                  of Unsecured Creditors




Movant: U.S. Bank National Association, as Trustee for the Structured Asset Investment
   Loan Trust, 2006-4
D&G Reference: 211885
             Case 07-10416-BLS           Doc 5124-1       Filed 02/29/08      Page 2 of 2




         U.S. Bank National Association, as Trustee for the Structured Asset Investment Loan Trust,
2006-4 has filed a Motion for Relief from Stay which seeks the following relief: Relief from the
automatic stay to exercise its non-bankruptcy rights with respect to certain real property in which the
above-captioned debtor may hold an interest. A complete list of the real property to which the motion
relates is attached to the motion as Exhibit A.

HEARING ON THE MOTION WILL BE HELD ON MARCH 25, 2008 AT 1:30 P.M.

       You are required to file a response (and the supporting documentation required by Local Rule
4001-1(d)) to the attached motion at lease five business days before the above hearing date. At the
same time, you must also serve a copy of the response upon movant’s attorneys:

 Maria Aprile Sawczuk                                                     Adam Hiller, Esquire
 Draper and Goldberg, PLLC                                                Draper & Goldberg, PLLC
 1500 North French Street                                                 1500 North French Street
 2nd Floor                                                                2nd Floor
 Wilmington DE 19801                                                      Wilmington, DE 19801
                                                                          (302) 339-8776 telephone

         The hearing date specified above may be a preliminary hearing or may be consolidated with the
final hearing, as determined by the Court.

         The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for the
purpose of stipulating to relevant facts such as value of the property, and the extent and validity of any
security instrument.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: February 25, 2008                        Respectfully submitted,
       Wilmington, Delaware
                                                DRAPER & GOLDBERG, PLLC


                                                 /s/ Maria Aprile Sawczuk
                                                Adam Hiller (DE No. 4105)
                                                Maria Aprile Sawczuk (DE No. 3320)
                                                1500 North French Street, 2nd Floor
                                                Wilmington, Delaware 19801
                                                (302) 339-8776 telephone
                                                (302) 213-0043 facsimile



                                                   -2-
